                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

  UNITED STATES OF AMERICA                       )
                                                 )        Case No. 1:20-cr-8
  v.                                             )
                                                 )        Judge Travis R. McDonough
  RUBEN T. WILLIAMS, JR.                         )
                                                 )        Magistrate Judge Susan K. Lee
                                                 )


                                              ORDER


          Magistrate Judge Susan K. Lee filed a report and recommendation recommending that

 the Court: (1) accept Defendant’s plea of guilty to Count One of the one-count Superseding Bill

 of Information; (2) adjudicate the Defendant guilty of the charges set forth in Count One of the

 Superseding Bill of Information; (4) defer a decision on whether to accept the plea agreement

 until sentencing; and (5) order that Defendant remain in custody until sentencing in this matter

 (Doc. 30). Neither party filed a timely objection to the report and recommendation. After

 reviewing the record, the Court agrees with Magistrate Judge Lee’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

 recommendation (Doc. 30) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

       1. Defendant’s plea of guilty to Count One of the Superseding Bill of Information is

          ACCEPTED;

       2. Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

          Superseding Bill of Information;

       3. A decision on whether to accept the plea agreement is DEFERRED until sentencing; and




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    4. Defendant SHALL REMAIN in custody pending sentencing in this matter which is

       scheduled to take place on January 22, 2021 at 9:00 a.m. before the undersigned.

    SO ORDERED.

                                           /s/Travis R. McDonough
                                           TRAVIS R. MCDONOUGH
                                           UNITED STATES DISTRICT JUDGE




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